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                      Exhibit 1
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                         Expert Rebuttal Declaration of
                             James M. Cantor, PhD


                               Poe et al v. Drummond et al
                              Northern District of Oklahoma
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         1.      I have received and reviewed the rebuttal declarations of Drs. Adkins, Antommaria,

    Janssen, and Turban. The brief period available for response does not permit corrections to each

    of their errors with the depth or breadth they merit. Because the most numerous and substantial

    of those errors represent individual instances of contradicting the principles of evidence-based

    medicine, rejecting the scientific method, and failing to address the errors already identified in

    my initial declaration, my following comments address the most glaring examples of violating

    those principles.

         2.      My initial declaration included sections (Cantor decl, ¶¶ 259–304) identifying

    numerous errors I identified in the plaintiffs’ opening memorandum and each of their experts’

    declarations. With some exceptions in Dr. Antommaria’s rebuttal, the rebuttal declarations did

    not contest that these claims were indeed erroneous. Instead, the rebuttals consisted mostly of

    reiterating their original errors, entirely ignoring documentation of their mistakes.

    I.        Clinical decision-making consists of analyzing the risk-to-benefit ratio
              given uncertainty, and arguments are invalid when missing analysis of
              risk or benefit or uncertainty.
         3.      Clinical decision-making is based on assessing the risk-to-benefit ratio given the

    uncertainties of the alternatives. That is, treatments with low risk of harm can be justified by low

    quality evidence, but treatments with high risk of harm require high quality evidence of benefit.

    In the present context, psychotherapy poses very low risk of harm (if any at all), whereas the

    risks of medicalization are objectively high. The evidence of potential benefits of transition is of

    low quality and is highly subjective. The diagnoses of purely medical conditions (such as

    precocious puberty and disorders of sexual development) can be made with very high accuracy

    and on the basis of objective, physical testing, but the diagnosis of gender dysphoria is highly

    uncertain, based on ambiguous features with no objective means of verification.



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          4.      The plaintiffs’ experts demonstrate awareness of the roles of these three factors—risk,

    benefit, and uncertainty—but repeatedly evade their proportionality, providing no risk-to-benefit

    analyses. Their arguments repeatedly consist of naming an exception, but ignoring that the

    conditions which can (sometimes) permit such an exception are absent regarding gender

    dysphoria. That is, naming an exception wherein a high-risk procedure is acceptable is irrelevant

    when it ignores that the exception applies only to conditions diagnosed with high certainty

    (whereas the diagnosis of gender dysphoria is quite uncertain). Naming an exception wherein

    low quality evidence is acceptable is irrelevant when it ignores that the exception applies only to

    low-risk interventions (whereas medicalized transition includes very high-risk interventions).

          5.      In the plaintiffs’ experts’ materials, Dr. Antommaria claimed “None of these reports

    or statements meets the standards to which the Defendants’ experts hold the Endocrine Society’s

    and WPATH’s clinical practice guidelines” (Antommaria rebuttal decl, ¶32). Because

    psychotherapy poses so much less risk than does medicalized transition, however, it does not

    hold the same burden of evidence as medicalized transition: It is the medicalization that holds the

    burden of proof to demonstrate it provides greater benefit to justify its greater harms to

    objectively healthy and functioning tissue. This represents an instance of the central medical

    ethic of Do no harm. Dr. Antommaria claimed “it does not appear from the summary that a

    systematic review of the literature was conducted in the formulation of every recommendation”

    (¶32); however, as explicated in my initial report, WPATH’s review did not include safety at all,

    and the Endocrine Society review did not include puberty blockers at all (Table 1, Cantor decl,

    p. 34).

    II.        The plaintiffs’ experts misrepresent and minimize the role of the
               Systematic Review process and engage in the very cherry-picking and
               biased evaluation of evidence that the process was developed to prevent.



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        6.       Especially with highly contested research findings, it has long been common for

    authors to provide analyses that are highly biased, such as by (1) engaging in cherry-picking,

    citing only the studies, or only the parts of studies, that seem to support their view, or (2) by

    holding studies to a higher or lower standard according to whether they support or contradict the

    authors’ view. To address that problem, the process of systematic review was developed, as

    detailed in my initial declaration: The steps of systematic review, including explicit disclosure of

    all studies, of the inclusion/exclusion criteria, and so on, all minimize opportunities for such

    biases to affect conclusions.

        7.       These features of systematic reviews are reflected by the National Institutes of Health

    (NIH) and the National Academy of Sciences. From the NIH Office of Research Services: 1

             According to Cook, Mulrow, and Haynes, “systematic reviews are scientific
             investigations in themselves, with pre-planned methods and an assembly of original
             studies as their subjects. Systematic reviews synthesize the results of multiple
             primary investigations by using strategies that limit bias and random
             error….These strategies include a comprehensive search of multiple databases to
             identify potentially relevant articles and the use of explicit, reproducible criteria in
             the selection of articles for inclusion and review. Primary research designs and
             study characteristics are appraised, data are synthesized and results are interpreted. 2
             [Italics added.]

    The NIH National Heart, Lung, & Blood Institute summarizes the NAS Institute of Medicine

    definition of systematic review as: 3

             In 2011, the Institute of Medicine (IOM) defined a systematic evidence review as
             “a scientific investigation that focuses on a specific question and uses explicit,
             prespecified scientific methods to identify, select, assess, and summarize the
             findings of similar but separate studies. It may include a quantitative synthesis
             (meta-analysis), depending on the available data.” Systematic evidence reviews of
             comparative effectiveness research to learn what is known and not known about the
             potential benefits and harms of alternative drugs, devices, and other healthcare
             services provides the best evidence to inform clinical decisions. [Italics added]


    1
      Available from https://www.nihlibrary.nih.gov/services/systematic-review-service
    2
      Cook, D. J., Mulrow, C. D., & Haynes, R. B. (1997). Systematic reviews: Synthesis of best evidence for clinical
    decisions. Annals of Internal Medicine, 126, 376–80.
    3
      Available from https://www.nhlbi.nih.gov/node/80397


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            The NHLBI appoints expert panels to conduct systematic evidence reviews to
            enable clinical practice guidelines development. An expert panel is a committee of
            unpaid experts. The chair and members are chosen mainly for their scientific and
            clinical expertise. Excluded are individuals with clear financial conflicts and those
            whose professional or intellectual bias would diminish the credibility of the review.
            [Italics added.]

    Factors that are considered by systematic reviews in evaluating the quality of research evidence

    are provided by the PRISMA reporting guidelines. A copy of those guidelines is appended to the

    present rebuttal declaration.

       8.      The profundity of the plaintiffs’ experts’ misrepresentation of the systematic review

    process is illustrated by comparing either of these NIH sources (or the peer-reviewed sources

    cited in my original declaration) indicating the purpose of systematic review to be to provide

    unbiased conclusions, with the description provided by Dr. Turban: “all a ‘systematic review’

    means is that the authors of the reports pre-defined the search terms they used” (Turban rebuttal

    decl, ¶5). Somehow, in Dr. Turban’s view, the prevention of bias, prevention of cherry-picking,

    and use of universal reporting standards to ensure all studies are evaluated on equal footing, did

    not merit mention. The plaintiffs’ experts’ opinions do not survive the application of these

    universal standards of science.

       9.      In claiming that pre-defined search terms is all that ‘systematic review’ means, Dr.

    Turban cited a single source: https://guides.library.harvard.edu/meta-analysis/gettingstarted.

    What that source actually says, however, is:

            A systematic review is guided filtering and synthesis of all available evidence
            addressing a specific, focused research question, generally about a specific
            intervention or exposure. The use of standardized, systematic methods and pre-
            selected eligibility criteria reduce the risk of bias in identifying, selecting and
            analyzing relevant studies. A well-designed systematic review includes clear
            objectives, pre-selected criteria for identifying eligible studies, an explicit
            methodology, a thorough and reproducible search of the literature, an assessment
            of the validity or risk of bias of each included study, and a systematic synthesis,
            analysis and presentation of the findings of the included studies. A systematic
            review may include a meta-analysis. [Italics added.]


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    Several observations apply: (1) As the italicized text shows, Dr. Turban’s source describes the

    purpose of systematic reviews the same way I have: to minimize bias in selecting and evaluating

    the studies in the research literature. (2) Dr. Turban either misrepresents or misunderstands his

    source. It does not refer to “search terms” as one might enter into a Google search to ensure one

    has gotten all the relevant “hits.” Rather, it refers to the inclusion/exclusion criteria used for

    deciding which of those studies get entered into versus from excluded from the systematic

    review: That step is what prevents the cherry-picking. The inclusion/exclusion criteria are

    applied to the results of applying search terms to research databases.

    III.     In minimizing the importance of systematic review, the plaintiffs’
             experts engage in the very biases the process is designed to prevent,
             holding studies to higher versus lower standards according to whether
             they support or challenge their opinions. This includes accepting or
             rejecting pre-DSM-5 studies that challenge versus (seem to) favor them.
       10.     Dr. Turban claimed that “the primary advantage to a systematic review would be to

    identity research publications that had not previously been identified in this discussion” (Turban

    rebuttal, ¶5). That claim ignores the actual advantage, as noted even by Dr. Turban’s own

    source: Systematic review prevents the very biases on which the plaintiffs’ experts’ arguments

    rely. The so-called “publications that had not previously been identified” are the very studies

    that disconfirm Dr. Turban’s opinions. All this is entirely consistent with the contents of my

    initial declaration, which exhaustively listed all available outcomes studies (Cantor decl, ¶¶178–

    201), whereas the plaintiffs’ experts cherry-picked only those studies seeming to support them

    and omitted the failures to replicate those results, and which demonstrate the unreliability of their

    conclusion.

       11.     As noted already, the systematic review process includes making assessment criteria

    explicit and holding them constant across all research studies. The plaintiffs’ experts do the



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    reverse. My declaration included all follow-up studies of prepubescent children, which

    demonstrated unanimously that the large majority of them desist in feeling gender dysphoric by

    puberty (Cantor decl, Section IX.B.1). The plaintiffs’ experts repeatedly argued these studies to

    be outdated because they did not use DSM-5 diagnostic criteria and included too broad a sample.

    In direct contradiction of that same standard, they repeatedly cite and support multiple studies

    that did not use DSM-5 criteria or, in an even greater contradiction, survey studies that use no

    DSM diagnoses at all, thus including samples even broader than in the studies they reject.

    Examples include:

             •   de Vries et al. (2011) gathered its samples before the DSM-5 (published in 2012) and
                 did not use its diagnostic criteria.
             •   de Vries et al. (2014) was a follow-up of the same individuals as de Vries et al.
                 (2011), gathered before the DSM-5 criteria.
             •   Olson et al. (2022) employed no DSM or other diagnosis at all.
             •   Tordoff et al. (2022) employed no DSM or other diagnosis at all, instead including
                 any patient who completed the telephone intake and in-person appointments.
             •   Achille et al. (2020) did not employ DSM or other diagnosis, instead providing
                 treatments following Endocrine Society and WPATH guidelines, which, in turn,
                 require no DSM or other diagnosis.

    IV.      The plaintiffs’ experts evade the central point: Endorsement of
             medicalized transition is limited to committees and associations that
             failed to conduct systematic reviews of safety and evidence, to which the
             experts respond by merely repeating the conclusions of those groups
             while ignoring the conclusions by the groups that did conduct such
             reviews.
       12.       My initial declaration listed on a single table (Table 1, Cantor decl, p. 34) every study

    identified by every systematic review, including the Endocrine Society, WPATH (published as

    Baker et al., 2021), and the American Academy of Pediatrics. As noted there and in the body of

    my declaration, WPATH included zero studies of safety, the Endocrine Society included zero

    studies of puberty blockers, and AAP conducted no systematic review at all. None of the


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    plaintiffs’ experts contested this, nor indicated that I left out any study of safety of effectiveness.

    The counterargument they provide, however, simply restates the endorsements from those

    groups, ignoring that those endorsements have no scientific basis.

           13.      Whereas I list the basis of the committees’ decisions, the plaintiffs’ experts respond

    only by reiterating these committees’ decisions. This, however, is exactly how medical

    mismanagement occurs: It is not possible to detect when a committee is failing to apply the

    relevant science and principles when the committee’s actions are used as evidence of the

    principles, instead of using the principles as the basis for evaluating the committee’s decisions.

           14.      This very same error applies to Dr. Antommaria’s lack of awareness of the meaning

    of experimental. NIH maintains ClinicalTrials.gov, a U.S. government website and database of

    clinical research studies for scientists, health care professionals, and the public. Its section for

    “Study Basics” includes a glossary, which provides the entries below, defining “experimental”

    the same way as appears in my initial declaration: Experiments test treatments by comparing two

    groups (or “arms”), one that receives the treatment and one that does not. 4 Because medicalized

    transition has not yet been tested with a two-group design, it has not yet passed the experimental

    stage. (The glossary also includes the “active comparator” option also appearing in my initial

    declaration; Cantor decl, ¶¶ 52–53.)

                 Arm
                 A group or subgroup of participants in a clinical trial that receives a specific
                 intervention/treatment, or no intervention, according to the trial's protocol.

                 Arm type
                 A general description of the clinical trial arm. It identifies the role of the intervention
                 that participants receive. Types of arms include experimental arm, active comparator
                 arm, placebo comparator arm, sham comparator arm, and no intervention arm.




    4
        Available from https://clinicaltrials.gov/study-basics/glossary


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                Experimental arm
                An arm type in which a group of participants receives the intervention/treatment that is
                the focus of the clinical trial.

                No intervention arm
                An arm type in which a group of participants does not receive any intervention/
                treatment during the clinical trial.

                Active comparator arm
                An arm type in which a group of participants receives an intervention/treatment
                considered to be effective (or active) by health care providers.

    The NIH Grants and Funding website page also provides the definition of experimental for

    investigations not pertaining to treatment outcomes, and it again indicates this to mean designs

    with two (or more) groups: 5

                Basic Experimental Studies with Humans
                Studies that prospectively assign human participants to conditions (i.e., experimentally
                manipulate independent variables) and that assess biomedical or behavioral outcomes
                in humans for the purpose of understanding the fundamental aspects of phenomena
                without specific application towards processes or products in mind.

          15.      As noted in my initial declaration and to which there has been no challenge, the

    highest level research design yet applied to studying treatment outcomes is the cohort study

    (Cantor decl, section III.D). In these studies, a single group of individuals was assessed before

    and again after undergoing medicalized transition. Because this design does not include a

    second group (i.e., no control group or “arm”), it does not represent an experiment. Rather, this

    represents a “quasi-experimental” design, specifically, it is the “pre-post without control” design.

    In clinical research, there exist 11 quasi-experimental designs, which comprise a hierarchy

    according to their relative ability to establish causality, and, of these, the pre-post without control

    design represents the second to least able to establish causality (Harris et al., 2006).

          16.      Because they do not use randomization, quasi-experimental designs are subject to



    5
        Available from https://grants.nih.gov/policy/clinical-trials/glossary-ct.htm#BasicExperimentalStudieswithHumans


                                                              9
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    nine different threats to their internal validity (Shadish et al., 2002). Of these, four are pertinent

    to the cohort studies of minors undergoing medicalized transition:

             •   Confounding (psychotherapy occurring at the same time as medicalized transition,
                 leaving unknown which contributed to any changes detected)
             •   Maturation (natural development during which improvement would have happened
                 even without transition)
             •   Regression to the mean (when people are selected for having extreme scores on
                 fluctuating features, such as emotional distress, the group average is less extreme
                 upon retest due to the fluctuation rather than the intervention)
             •   Drop-outs (people not benefiting over time drop out, leaving only the people who are
                 improving)
    Because the existing studies of transition are not experiments, it is not possible to know which,

    or all, of these might be responsible for the changes reported (of the subset of studies that found

    changes in the first place).

       17.       Dr. Antommaria also obfuscates the meaning of “experimental” (in this context,

    being the status of a conclusion) and of “RCT’s” (a research design capable of demonstrating

    which factors cause which factors instead of merely correlating with each other) (Antommaria

    rebuttal decl, ¶ 31). Dr. Antommaria claimed:

             Finally, some of the Defendants’ experts emphasize that these countries limit the
             provision of gender-affirming medical care to research protocols without
             acknowledging that this research need not be RCT. Dr. Cantor, for example, claims
             “Dr. Antommaria’s other argument against RCTs is his belief that ‘A randomized
             trial is unlikely to enroll enough participants.’ That belief is also untenable.
             Healthcare systems of entire countries throughout Europe are limiting all
             medicalized transition to minors to research studies (298, reference omitted, italics
             in original).” He provides no evidence that these studies will be RCT and in fact
             some countries have explicitly stated that this will not be the case. For example, the
             Swedish NBHW states, “To ensure that new knowledge is gathered, the NBHW
             further deems that treatment with GnRH-analogues and sex hormones for young
             people should be provided within a research context, which does not necessarily
             imply the use of randomized controlled trials (RCTs).”

       18.       This is a false dilemma: Dr. Antommaria originally argued that it would not be

    possible to conduct RCTs, due to the difficulties he predicted in recruiting enough volunteers to

    participate. I pointed out that such a fear was unfounded because in several countries


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    participating in a research study is the only way to undergo medicalized transition. That Sweden

    (in Dr. Antommaria’s example above) will permit non-RCT research, if scientifically needed,

    while researchers climb each step of the levels of evidence does not change this. It is in the

    American context, wherein medicalized transition is readily available to anyone outside of any

    systematic research protocol at all, that makes participation in research less likely.

    V.         Documentation updates.
         19.      After the submission of my original declaration, the American Academy of Pediatrics

    (AAP) announced that it will now be commissioning a systematic review of the evidence. 6 That

    announcement was widely covered by the mainstream press. The Wall Street Journal 7 indicated

    the AAP review will be conducted externally, which would be consistent with the systematic

    review process outlined in my initial declaration, including the methods for avoiding conflicts of

    interest. In The New York Times, 8 Dr. Gordon Guyatt referred to AAP’s endorsement of medical

    transition before conducting such a review as “very clearly putting the cart before the horse,” and

    he added that:

               Based on previous systematic reviews, Dr. Guyatt said, the A.A.P.’s report will
               most likely find low-quality evidence for pediatric gender care. “The policies of the
               Europeans are much more aligned with the evidence than are the Americans’,” he
               said.

               In June, England’s National Health Service announced[ 9] that it would restrict the
               use of puberty blockers to clinical trials because “there is not enough evidence to
               support their safety or clinical effectiveness as a routinely available treatment.” Last
               year, Sweden’s national health care oversight body similarly determined 10 that, on
               the basis of its systematic review, “the risks of puberty-inhibiting and gender-

    6
      Available from https://publications.aap.org/aapnews/news/25340/AAP-reaffirms-gender-affirming-care-
    policy?autologincheck=redirected
    7
      Available from https://www.wsj.com/articles/doctors-group-to-examine-guidelines-for-treatment-of-transgender-
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    8
      Available from https://www.nytimes.com/2023/08/03/health/aap-gender-affirming-care-evidence-
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    9
      The New York Times linked this to https://www.nytimes.com/2023/06/09/health/puberty-blockers-transgender-
    children-britain-nhs.html
    10
       The New York Times linked this to https://www.socialstyrelsen.se/om-socialstyrelsen/pressrum/press/uppdaterade-
    rekommendationer-for-hormonbehandling-vid-konsdysfori-hos-unga/


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            JAMA Network Open, 5(2):e220978.




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                                          LIST OF APPENDICES

    Appendix 1

          PRISMA Guidelines


    Appendix 2

          Certification of official translation




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PRISMA-P (Preferred Reporting Items for Systematic review and Meta-Analysis Protocols) 2015 checklist: recommended items to
address in a systematic review protocol*
Section and topic                 Item No                                                           Checklist item

ADMINISTRATIVE INFORMATION
Title:
     Identification        1a               Identify the report as a protocol of a systematic review
     Update                1b               If the protocol is for an update of a previous systematic review, identify as such
Registration                2               If registered, provide the name of the registry (such as PROSPERO) and registration number
Authors:
     Contact               3a               Provide name, institutional affiliation, e-mail address of all protocol authors; provide physical mailing address of
                                            corresponding author
   Contributions                    3b      Describe contributions of protocol authors and identify the guarantor of the review
Amendments                           4      If the protocol represents an amendment of a previously completed or published protocol, identify as such and list changes;
                                            otherwise, state plan for documenting important protocol amendments
Support:
    Sources                         5a      Indicate sources of financial or other support for the review
    Sponsor                         5b      Provide name for the review funder and/or sponsor
    Role of sponsor or funder       5c      Describe roles of funder(s), sponsor(s), and/or institution(s), if any, in developing the protocol

INTRODUCTION
Rationale                            6      Describe the rationale for the review in the context of what is already known
Objectives                           7      Provide an explicit statement of the question(s) the review will address with reference to participants, interventions,
                                            comparators, and outcomes (PICO)

METHODS
Eligibility criteria                 8      Specify the study characteristics (such as PICO, study design, setting, time frame) and report characteristics (such as years
                                            considered, language, publication status) to be used as criteria for eligibility for the review
Information sources                  9      Describe all intended information sources (such as electronic databases, contact with study authors, trial registers or other
                                            grey literature sources) with planned dates of coverage
Search strategy                     10      Present draft of search strategy to be used for at least one electronic database, including planned limits, such that it could be
                                            repeated
Study records:
    Data management                 11a     Describe the mechanism(s) that will be used to manage records and data throughout the review
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    Selection process                   11b     State the process that will be used for selecting studies (such as two independent reviewers) through each phase of the
                                                review (that is, screening, eligibility and inclusion in meta-analysis)
      Data collection process          11c      Describe planned method of extracting data from reports (such as piloting forms, done independently, in duplicate), any
                                                processes for obtaining and confirming data from investigators
Data items                              12      List and define all variables for which data will be sought (such as PICO items, funding sources), any pre-planned data
                                                assumptions and simplifications
Outcomes and prioritization             13      List and define all outcomes for which data will be sought, including prioritization of main and additional outcomes, with
                                                rationale
Risk of bias in individual studies      14      Describe anticipated methods for assessing risk of bias of individual studies, including whether this will be done at the
                                                outcome or study level, or both; state how this information will be used in data synthesis
Data synthesis                         15a      Describe criteria under which study data will be quantitatively synthesised
                                       15b      If data are appropriate for quantitative synthesis, describe planned summary measures, methods of handling data and
                                                methods of combining data from studies, including any planned exploration of consistency (such as I 2, Kendall’s τ)
                                       15c      Describe any proposed additional analyses (such as sensitivity or subgroup analyses, meta-regression)
                                       15d      If quantitative synthesis is not appropriate, describe the type of summary planned
Meta-bias(es)                           16      Specify any planned assessment of meta-bias(es) (such as publication bias across studies, selective reporting within studies)
Confidence in cumulative evidence       17      Describe how the strength of the body of evidence will be assessed (such as GRADE)
* It is strongly recommended that this checklist be read in conjunction with the PRISMA-P Explanation and Elaboration (cite when available) for important
clarification on the items. Amendments to a review protocol should be tracked and dated. The copyright for PRISMA-P (including checklist) is held by the
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From: Shamseer L, Moher D, Clarke M, Ghersi D, Liberati A, Petticrew M, Shekelle P, Stewart L, PRISMA-P Group. Preferred reporting items for systematic review and
meta-analysis protocols (PRISMA-P) 2015: elaboration and explanation. BMJ. 2015 Jan 2;349(jan02 1):g7647.
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                       Appendix 2
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                                                                          May 18, 2022


                              CERTIFICATE OF TRANSLATION




    Finnish > English > Proofreading of the document titled:

    - Recommendation by the Board for Selection of Choices for Health Care in Finland (PALKO /
    COHERE Finland)

    I, Diana M. Arbeláez, with the ATA nr. 251348 at Lingua Franca Translations do
    hereby certify that the translation herein was completed in accordance with the
    American Translators Association Code of Professional Conduct and Business
    Practices and that to the best of my knowledge the translation and proofreading into
    English herein provided is, in fact, a literal and true interpretation of the statements
    in the original language Finnish. Under penalties of perjury, I declare that I have read
    the foregoing document and that the facts stated in it are true.




    ___________________________________

         Diana M. Arbeláez
          State of Florida
          County of Miami-Dade
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             Recommendation by the Board
         for Selection of Choices for Health Care
                        in Finland
                (PALKO / COHERE Finland)
    Medical Treatment Methods for Dysphoria Related to Gender Variance In
                                Minors
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   Concepts




   Suppression treatment           Pubertal suppression with GnRH analogues (drugs that inhibit
                                   gonadotropin-releasing hormone activity) to halt the
                                   development of secondary sex characteristics of the biological
                                   sex.


   Cisgender/Cis person            A person whose gender identity matches the sex determined at
                                   birth (identifies, and is satisfied with, the sex determined at
                                   birth and generally expresses his/her gender accordingly).



   Other gender identity           A person who does not identify as a man or a woman, but
                                   rather somewhere along the continuum or outside of it;
                                   genderless, nonbinary, or multigendered.

   Transgender                     A person whose gender identity differs from the legal and
                                   biological sex determined at birth but instead aligns with the
                                   opposite sex.
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   1.             Criteria for Preparation of these Recommendations
   As the number of patients, including minors, referred to the Helsinki University Hospital (HUS) and the
   Tampere University Hospital (TAYS) multidisciplinary outpatient clinics for assessment and treatment of
   gender dysphoria has increased, PALKO (Council for Choices in Healthcare in Finland / COHERE Finland)
   decided to prepare recommendations for medical treatments of gender dysphoria, i.e., distress which is
   associated with a minor’s gender variance and impairs function. Gender variance refers to a spectrum of
   gender experience anywhere on the male-female identity continuum or outside it, and is not exclusively
   confined to the dichotomized male/female conception of gender. Not all patients with gender variance
   experience significant suffering or functional impairments, and not all seek medical treatment.


   These recommendations are based on the legislation in force at the time of the adoption of the
   recommendation, the available research evidence, and the clinical experience of multidisciplinary teams
   with expertise in gender dysphoria assessment and treatment at HUS and TAYS. The knowledge base
   supporting these recommendations is detailed in a separate Preparatory Memorandum and appendices
   and includes a description of planning and implementation of medical treatments, a literature review of
   medical treatments, an extensive ethical analysis, and feedback following meetings with patients and the
   advocacy groups who represent them.


   Finnish legislation defines the requirements for the legal gender recognition of transsexuals (Act on Legal
   Recognition of the Gender of Transsexuals (Trans Act) 536/2002). The detailed requirements for providing
   the assessment and treatment to enable legal gender recognition are spelled out further in a Decree of the
   Ministry of Social Affairs and Health (1053/2002). The Trans Act and the related Decree apply to adults. For
   those who are not of legal age, there are no laws governing the provision and needs of transgender
   healthcare; however, these are subject to the Health Care Act of Finland (1326/2010), in particular section
   7 (criteria for integrated care), section 7a (criteria for treatment options), section 8 (evidence-based, high
   quality, safe and appropriate care) and section 10 (rationale for centralization); and also to the Constitution
   of Finland (731/1999)’s section 6 on equality and section 19 on the right to adequate social and healthcare
   services. Finland’s Act on the Status and Rights of Patients, (785/1992), and especially sections 5, 6, and 7,
   are also relevant.
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                                                 Recommendation                                                         5(14)


                                                                                               STM038:00/2020
   2.             Target Population - Recommendations
   These recommendations apply to minors suffering from dysphoria related to gender variance who are seeking a
   consultation regarding an evaluation of medical examination and treatment needs; the children and
   adolescents may identify with the opposite sex (transgender), or may identify as genderless, non-binary, or
   anywhere along or outside the male/female gender identity continuum (other gender).


        3.         Assessed Methodology

   These recommendations focus on medical treatment procedures that aim to decrease suffering and functional
   impairment of gender-dysphoric minors.



   4.             Current Care

   Cross-sex identification in childhood, even in extreme cases, generally disappears during puberty. However, in
   some cases, it persists or even intensifies. Gender dysphoria may also emerge or intensify at the onset of
   puberty. There is considerable variation in the timing of the onset of puberty in both sexes. The first-line
   treatment for gender dysphoria is psychosocial support and, as necessary, psychotherapy and treatment of
   possible comorbid psychiatric disorders.


   Consultation appointments (for parents / caregivers) regarding pre-pubescent children’s cross-sex identification
   or gender dysphoria are provided by the research group on the gender identity of minors at TAYS or HUS.
   However, ongoing support or other treatment of psychiatric disorders are provided through the local municipal
   services.


   In clear cases of pre-pubertal onset of gender dysphoria that intensified during puberty, a referral can be made
   for an assessment by the research group at TAYS or HUS regarding the appropriateness for puberty suppression.
   If no contraindications to early intervention are identified, pubertal suppression with GnRH analogues (to
   suppress the effect of gonadotropin-releasing hormone) may be considered to prevent further development of
   secondary sex characteristics of the biological sex.


   Adolescents who have already undergone puberty, whose gender dysphoria occurs in the absence of co-
   occurring symptoms requiring psychiatric treatment, and whose experience of transgender identity failed to
   resolve following a period of reflection, can be referred for assessment by the research group on the gender
   identity of minors at TAYS or HUS. Hormone therapy (testosterone/estrogen and anti-androgen) can be started
   after the diagnostic evaluations, but no earlier than age 16. Additionally, patients under 18 receive three to six
   months of GnRH analogue treatment prior to the initiation of cross-sex hormones in order to suppress the
   hormonal activity of the gonads. No gender confirmation surgeries are performed on minors.
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                                               Recommendation                                                    6(14)


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   5.             Risks, Benefits and Uncertainty


   The literature review identified two studies with the total of 271 persons diagnosed with childhood-onset
   gender identity disorder and associated gender or body dysphoria that intensified after the onset of
   puberty (Preparatory Memorandum Appendix 1, Tables 15 and 16, pages 46-48).


   In a smaller study of 70 adolescents, puberty was suppressed with the GnRH analogue at the average age of
   14.8 (12-18 years) and puberty blockade continued for an average of 2 years. During the treatment period,
   the adolescents’ mood improved, and the risk of behavioral disorders diminished, but gender dysphoria
   itself did not diminish, and there were no changes in body image. In a larger study consisting of 201
   adolescents, 101 patients with the average age of 15.5 (12-18 years) started an 18-month psychological
   supportive intervention, and, additionally at six months, pubertal development was suppressed by starting
   GnRH analogue treatment. The other cohort of 100 only received psychological supportive intervention for
   18 months. In both groups, statistically significant increases in global psychosocial functioning were found
   at 12 and 18 months; among those having received psychological intervention alone, the improvement in
   global functioning was already significant at the 6-month mark. Both studies lack long-term treatment
   follow-up into adulthood.


   A recent Finnish study, published after the completion of this literature review, reported on the effect of
   initiating cross-sex hormone therapy on functioning, progression of developmental tasks of adolescence,
   and psychiatric symptoms. This study found that during cross-sex hormone therapy, problems in these
   areas did not decrease.


   Potential risks of GnRH therapy include disruption in bone mineralization and the as yet unknown effects on
   the central nervous system. In trans girls, early pubertal suppression inhibits penile growth, requiring the
   use of alternative sources of tissue grafts for a potential future vaginoplasty. The effect of pubertal
   suppression and cross-sex hormones on fertility is not yet known.



   6.             Ethical Assessment
   Although the ethics analysis did not systematically address the issues pertaining to children and
   adolescents, they have been discussed in several areas in the related documents (Preparatory
   Memorandum pages 52-62; Appendix 5).

   According to the Health Care Act (section 8), healthcare services must be based on evidence and recognized
   treatment and operational practices. As far as minors are concerned, there are no medical treatment that can
   be considered evidence-based. At the same time, the numbers of minors developing gender dysphoria has
   increased. In this situation, it is vital to assure that children and young people are able to talk about their
   feelings, and that their feelings are acknowledged. The opportunity to reflect on one’s experience should be
   easily accessible through the local health system (i.e., school or student health care, primary care). A young
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                                               Recommendation                                                     7(14)


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   person’s feelings should not be interpreted as immediately requiring specialized medical examinations or
   treatments.

   In cases of children and adolescents, ethical issues are concerned with the natural process of adolescent
   identity development, and the possibility that medical interventions may interfere with this process. It has
   been suggested that hormone therapy (e.g., pubertal suppression) alters the course of gender identity
   development; i.e., it may consolidate a gender identity that would have otherwise changed in some of the
   treated adolescents. The reliability of the existing studies with no control groups is highly uncertain, and
   because of this uncertainty, no decisions should be made that can permanently alter a still-maturing
   minor’s mental and physical development.

   From the point of view of patient advocacy groups, halting puberty is providing young people with a period
   of reflection, rather than consolidating their gender identity. This is based on the premise that halting the
   development of one’s permanent sex characteristics will improve the minor’s social interactions, while
   allowing more time for diagnostic evaluations. Additionally, patient advocacy groups assert that early
   intervention with hormonal treatments will lead to improved outcomes for the patients who do eventually
   pursue gender reassignment. Professionals, for their part, consider it important to ensure that irreversible
   interventions, which may also have significant adverse effects, both physical and mental, are only
   performed on individuals who are able to understand the permanence of the changes and the potential for
   harm, and who are unlikely to regret such interventions. It is not known how the hormonal suppression of
   puberty affects young people’s judgement and decision-making.

   The Act on the Status and Rights of Patients (1992/785) states that the patient shall be provided with
   information about his/her state of health, the significance of the treatment, various alternative forms of
   treatment and their effects, and about other factors concerning treatment that have an effect on
   treatment decision-making. In a situation where a minor’s identification with the opposite sex causes long-
   term and severe dysphoria, it is important to make sure that he/she understands the realistic potential of
   gender reassignment treatments to alter secondary sex characteristics, the reality of a lifelong commitment
   to medical therapy, the permanence of the effects, and the possible physical and mental adverse effects of
   the treatments. Although patients may experience regret, after reassignment treatments, there is no going
   back to the non-reassigned body and its normal functions. Brain development continues until early
   adulthood – about age 25, which also affects young people’s ability to assess the consequences of their
   decisions on their own future selves for rest of their lives.

   A lack of recognition of comorbid psychiatric disorders common among gender-dysphoric adolescents can
   also be detrimental. Since reduction of psychiatric symptoms cannot be achieved with hormonal and
   surgical interventions, it is not a valid justification for gender reassignment. A young person’s identity and
   personality development must be stable so that they can genuinely face and discuss their gender dysphoria,
   the significance of their own feelings, and the need for various treatment options.
   For children and adolescents, these factors are key reasons for postponing any interventions until
   adulthood.
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                                               Recommendation                                                   8(14)


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       7. Conclusions

   The first-line intervention for gender variance during childhood and adolescent years is psychosocial
   support and, as necessary, gender-explorative therapy and treatment for comorbid psychiatric disorders.
   Uncertainty related to gender identity should be dealt with according to the severity of symptoms and the
   need for treatment and should be handled at the school / student health care, primary health care at the
   local level, or in specialty care.

   In adolescents, psychiatric disorders and developmental difficulties may predispose a young person to the
   onset of gender dysphoria. These young people should receive treatment for their mental and behavioral
   health issues, and their mental health must be stable prior to the determination of their gender identity.

   Clinical experience reveals that autistic spectrum disorders (ASD) are overrepresented among adolescents
   suffering from gender dysphoria; even if such adolescents are presenting with gender dysphoria,
   rehabilitative interventions for ASD must be properly addressed.

   In light of available evidence, gender reassignment of minors is an experimental practice. Based on studies
   examining gender identity in minors, hormonal interventions may be considered before reaching adulthood
   in those with firmly established transgender identities, but it must be done with a great deal of caution, and
   no irreversible treatment should be initiated. Information about the potential harms of hormone therapies
   is accumulating slowly and is not systematically reported. It is critical to obtain information on the benefits
   and risks of these treatments in rigorous research settings.

   At a minimum, a consultation for a pre- pubescent child at the specialist setting at the TAYS includes an
   extensive assessment appointment costing EUR 369. If necessary, a day-long outpatient consultation can be
   arranged, costing EUR 1,408.

   The consultation and assessment process for minors at the specialist settings of TAYS or HUS costs EUR
   4,300. If it is determined that this process would be untimely, the minimum cost is EUR 640. An initial
   assessment / consultation by phone costs EUR 100.

   The planning and monitoring costs for pubertal suppression are EUR 2,000 for the first year, and EUR 1,200
   for subsequent years. The costs for the planning and monitoring of hormone treatments are a minimum of
   EUR 400 per year.

   These costs do not take into account the additional costs of psychosocial support provided in the local level,
   the possible need for psychiatric treatment, or hormone treatment medication costs.
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                                               Recommendation                                                  9(14)


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       8. Summary of the Recommendations

   PALKO / COHERE maintains the following:

       1. For the treatment of gender dysphoria due to variations in gender identity in minors, psychosocial
          support should be provided in school and student healthcare and in primary healthcare, and there
          must be sufficient competency to provide such support.
       2. Consultation with a child or youth psychiatrist and the necessary psychiatric treatment and
          psychotherapy should be arranged locally according to the level of treatment needed.
       3. If a child or young person experiencing gender-related anxiety has other simultaneous psychiatric
          symptoms requiring specialised medical care, treatment according to the nature and severity of the
          disorder must be arranged within the services of their own region, as no conclusions can be drawn on
          the stability of gender identity during the period of disorder caused by a psychiatric illness with
          symptoms that hamper development.


   PALKO / COHERE considers that the consultation, periods of assessment, and treatments by the research
   group on the gender identity of minors at TAYS or HUS must be carried out according to the following
   principles:

   1. Children who have not started puberty and are experiencing persistent, severe anxiety related to gender
      conflict and/or identification as the other sex may be sent for a consultation visit to the research group on
      the gender identity of minors at TAYS or HUS. Any need for support beyond the consultation visit or need
      for other psychiatric treatment should be addressed by local services according to the nature and severity
      of the problem.

   2. If a child is diagnosed prior to the onset of puberty with a persistent experience of identifying as the other
      sex and shows symptoms of gender-related anxiety, which increases in severity in puberty, the child can be
      guided at the onset of puberty to the research group on the gender identity of minors at TAYS or HUS for an
      assessment of the need for treatment to suppress puberty. Based on these assessments, puberty
      suppression treatment may be initiated on a case-by-case basis after careful consideration and appropriate
      diagnostic examinations if the medical indications for the treatment are present and there are no
      contraindications. Therapeutic amenorrhea, i.e. prevention of menstruation, is also medically possible.

   3. A young person who has already undergone puberty can be sent to the research clinic on the gender
      identity of minors at TAYS or HUS for extensive gender identity studies if the variation in gender identity
      and related dysphoria do not reflect the temporary search for identity typical of the development stage of
      adolescence and do not subside once the young person has had the opportunity to reflect on their identity
      but rather their identity and personality development appear to be stable.


   4. Based on thorough, case-by-case consideration, the initiation of hormonal interventions that alter sex
      characteristics may be considered before the person is 18 years of age only if it can be ascertained that
      their identity as the other sex is of a permanent nature and causes severe dysphoria. In addition, it must be
      confirmed that the young person is able to understand the significance of irreversible treatments and the
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                                              Recommendation                                                  10(14)


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       benefits and disadvantages associated with lifelong hormone therapy, and that no contraindications are
       present.

   5. If a young person experiencing gender-related anxiety has experienced or is simultaneously experiencing
      psychiatric symptoms requiring specialized medical care, a gender identity assessment may be considered if
      the need for it continues after the other psychiatric symptoms have ceased and adolescent development is
      progressing normally. In this case, a young person can be sent by the specialized youth psychiatric care in
      their region for an extensive gender identity study by the TAYS or HUS research group on the gender
      identity of minors, which will begin the diagnostic studies. Based on the results of the studies, the need for
      and timeliness of medically justified treatments will be assessed individually.


   Surgical treatments are not part of the treatment methods for dysphoria caused by gender-related conflicts in
   minors. The initiation and monitoring of hormonal treatments must be centralized at the research clinics on
   gender identity at HUS and TAYS.


       9. Additional Evidence Gathering and Monitoring the Effectiveness of
          Recommendations

   Moving forward, the following information must be obtained about the patients diagnosed and receiving
   treatments in Finland before re-evaluating these recommendations:

           -      Number of new patient referrals
           -      Number of patients starting the assessment period, and numbers of new transgender (
           F64.0) vs “other gender” (F64.8) diagnoses
           -      Whether the diagnosis remains stable or changes during the assessment phase
           -      Number of patients discontinuing the assessment period and the reasons for the
           discontinuation
           -      Adverse effects of treatments (especially long-term effects and effect on fertility)
           -      Number of patients regretting hormone therapy
           -      Analysis of the effects of the assessment and the treatment period on gender dysphoria
           outcomes, as measured by the Gender Congruence and Life Satisfaction Scale (GCLS)
           -      Analysis of the effects of the assessment and the treatment period on functional capacity
           and quality of life
           -      The prevalence of co-occurring psychiatric diagnoses (especially neurodevelopmental
           diagnoses F80-F90) among those diagnosed with / seeking treatment for gender dysphoria, and
           whether the presence of these co-occurring diagnoses impacts the ability to achieve the desired
           outcome (e.g. decreased dysphoria) in the assessment or the treatment phase.
           -      Whether the assessment and treatment periods lead to a reduction of suicide attempts
           -      Whether the assessment and treatment periods lead to a reduction in depression and
           distress
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   10.          Attachments


   Preparatory Memorandum, with Appendices 1-5.
